Case 20-63562-pmb       Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04            Desc Main
                                 Document      Page 1 of 21



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

                                           )                CHAPTER 7
IN RE:                                     )
                                           )                CASE NO. 20-63562-PMB
TRACY DENNIS,                              )
                                           )
        Debtor.                            )
                                           )
                                           )
S. GREGORY HAYS, Chapter 7 Trustee for the )
Estate of Tracy Dennis,                    )
                                           )
        Plaintiff,                         )
v.                                         )                ADVERSARY PROCEEDING
                                           )                NO.
UNITED COMMUNITY BANK,                     )
                                           )
        Defendant.                         )
                                           )

                                        COMPLAINT

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate of Tracy Dennis, and files this Complaint against United Community Bank

(“Defendant”), respectfully showing the Court as follows:

                                    Jurisdiction and Venue

       1.      This adversary proceeding is initiated under Rule 7001 of the Federal Rules of

Bankruptcy Procedure and 11 U.S.C. §§ 547, 550, and 551.

       2.      This adversary proceeding is a core proceeding under 28 U.S.C. §§ 157(b)(2).

       3.      This adversary proceeding is initiated under Rules 7001(1) of the Federal Rules of

Bankruptcy Procedure and 11 U.S.C. §§ 547, 550, and 551.

       4.      Venue of this adversary proceeding is proper in this Court under 28 U.S.C. § 1409

because the claims asserted in this adversary proceeding arise in and relate to the Chapter 7



14971074v1
Case 20-63562-pmb        Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04            Desc Main
                                  Document      Page 2 of 21



bankruptcy case of Tracy Dennis (the “Debtor”), Case No. 20-63562-PMB (the “Bankruptcy

Case”), pending in the United States Bankruptcy Court for the Northern District of Georgia,

Atlanta Division.

        5.     This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334.

        6.     Trustee consents to the entry of final orders or judgment by the Bankruptcy Court

pursuant to Bankruptcy Rule 7008 of the Federal Rules of Bankruptcy Procedure.

        7.     Defendant is subject to the jurisdiction of this Court.

                                       Statement of Facts

                                     a. General Background

        8.     On February 28, 2020 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, initiating the Bankruptcy Case.

        9.     On or about the Petition Date, Trustee was appointed to the Bankruptcy Case as

interim Chapter 7 trustee under 11 U.S.C. § 701(a)(1).

        10.    Trustee held and concluded the meeting of creditors on April 28, 2020, pursuant

to 11 U.S.C. § 341(a), after which time Trustee became the permanent Chapter 7 trustee, under

11 U.S.C. § 702(d).

        11.    At the commencement of the Bankruptcy Case, a bankruptcy estate (the

“Bankruptcy Estate”) was created under 11 U.S.C. § 541(a), and it includes all Debtor’s legal

or equitable interests in property as of the commencement of the Bankruptcy Case and any

interest in property that the Bankruptcy Estate acquires after commencement of the Bankruptcy

Case.

        12.    Trustee is the sole representative of the Bankruptcy Estate.




14971074v1
Case 20-63562-pmb        Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04           Desc Main
                                  Document      Page 3 of 21



                                        b. The Property

       13.     On her Schedule A – Real Property [Doc. No. 1 at page 15 of 68], Debtor

scheduled her sole ownership interest in that certain real property with a common address of

6885 Estepona Street, Atlanta, Fulton County Georgia 30349 (the “Property”).

       14.     On the Petition Date, the Property was property of the Bankruptcy Estate.

               c. Alleged Liens, Interests, and Encumbrances against the Property

       15.     On her Schedule D: Creditors Holding Secured Claims [Doc. No. 1 at pages 23-

25 of 68], Debtor scheduled two claims in or against the Property: (i) a “first mortgage” in the

amount of $170,609.00 in favor of Defendant, and (ii) a claim by Heritage Park Community

Association for $0.

       16.     With respect to the scheduled first priority mortgage of the Defendant, on or about

October 15, 2019, Debtor signed a Security Deed (the “UCB Deed”) granting a security interest

in the Property to the Defendant to secure the repayment of a debt owed by Debtor to the

Defendant in the original principal amount of $169,990.00 (the “Debt”).

       17.     A true and correct copy of the UCB Deed, along with any riders, is attached

hereto and incorporated herein by reference as Exhibit “A.”

       18.     On February 5, 2020, the Defendant recorded, or caused the recording of, the

UCB Deed in the real property records of the Clerk of the Superior Court of Fulton County, State

of Georgia at Deed Book 61153 beginning at page 315 (the “Transfer”).

       19.     On her bankruptcy disclosure forms, filed on the Petition Date, Debtor scheduled

the total value of her assets with a value of $187,540.00 and the total amount of her debts at

$324,768.00.

       20.     Upon information and belief, the Debtor’s financial condition did not materially




14971074v1
Case 20-63562-pmb        Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04            Desc Main
                                  Document      Page 4 of 21



change from the date of the Transfer to the Petition Date.

                                     COUNT I.
                    AVOIDANCE OF THE TRANSFER PURSUANT TO
                      SECTION 547 OF THE BANKRUPTCY CODE

       21.     Trustee hereby re-alleges and incorporates paragraphs 1 through 20 above as

though fully set forth herein.

       22.     The Transfer was a transfer of an interest of Debtor in property.

       23.     The Transfer was made to or for the benefit of the Defendant.

       24.     The Transfer was made on account of the antecedent Debt owed by Debtor to the

Defendant before the Transfer was made.

       25.     The Transfer was made while Debtor was insolvent.

       26.     The Transfer was made within 90 days of the Petition Date.

       27.     The Transfer enabled the Defendant to receive more than the Defendant would

have received if: (i) the Bankruptcy Case was a case under Chapter 7 of the Bankruptcy Code,

(ii) the Transfer had not been made, and (iii) the Defendant received payment of the Debt to the

extent provided by the provisions of the Bankruptcy Code.

       28.     Trustee may avoid the Transfer under 11 U.S.C. § 547.

                                COUNT II.
                     RECOVERY OF AVOIDED TRANSFER
              PURSUANT TO SECTION 550 OF THE BANKRUPTCY CODE

       29.     Trustee hereby re-alleges and incorporates paragraphs 1 through 28 above as

though fully set forth herein.

       30.     The Defendant was the initial transferee of the Transfer and/or the entity for

whose benefit the Transfer was made.

       31.     Trustee is entitled to recover the Property interest transferred through the avoided




14971074v1
Case 20-63562-pmb         Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04            Desc Main
                                   Document      Page 5 of 21



Transfer, or its value, from the Defendant under 11 U.S.C. § 550(a).

                                 COUNT III.
                   PRESERVATION OF THE AVOIDED TRANSFER
               PURSUANT TO SECTION 551 OF THE BANKRUPTCY CODE

       32.      Trustee hereby re-alleges and incorporates paragraphs 1 through 31 above as

though fully set forth herein.

       33.      The avoided Transfer is preserved automatically for the benefit of the Bankruptcy

Estate under 11 U.S.C. § 551.

                                  RESERVATION OF RIGHTS

       34.      Trustee reserves the right to amend this Complaint to add additional parties, to

add additional transfers, and to assert additional claims, including but not limited to any and all

claims arising under Title 11 of the United States Code or applicable law.

         WHEREFORE, Trustee prays that this Court enter a judgment in favor of Trustee and

against the Defendant:

         a)     Avoiding the Transfer under 11 U.S.C. § 547;

         b)     Authorizing Trustee to recover the property interest transferred through the

avoided Transfer, or its value, under 11 U.S.C. § 550;

         c)     Preserving the avoided Transfer under 11 U.S.C. § 551; and

         d)     Granting Trustee such other and further relief as is just and proper.

         Respectfully submitted this 8th day of May, 2020.

                                               ARNALL GOLDEN GREGORY, LLP
                                               Attorneys for Trustee

                                               By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                   Michael J. Bargar
Atlanta, GA 30363-1031                            Georgia Bar No. 645709
Tele: (404) 873-7030 / Fax: (404) 873-7031        michael.bargar@agg.com




14971074v1
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document      Page 6 of 21




                             EXHIBIT “A” FOLLOWS




14971074v1
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document      Page 7 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document      Page 8 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document      Page 9 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 10 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 11 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 12 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 13 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 14 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 15 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 16 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 17 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 18 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 19 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 20 of 21
Case 20-63562-pmb   Doc 23    Filed 05/08/20 Entered 05/08/20 17:23:04   Desc Main
                             Document     Page 21 of 21
